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  DOWD, J.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

                                                  )
                                                  )     CASE NO. 5:09 CV 0827
  MICHAEL LASHAWN SPRAGLING                       )     CASE NO. 5:06 CR 0239
                                                  )
                                                  )
         Petitioner,                              )     JUDGMENT ENTRY
                                                  )
         v.                                       )
                                                  )
  UNITED STATES OF AMERICA                        )
                                                  )
         Respondent.



         For the reasons set forth in Memorandum Opinion filed contemporaneously with this

  judgment, the Petitioner’s motion for relief pursuant to 28 U.S.C. § 2255 is denied.


  IT IS SO ORDERED.

  06/22/09                                       s/ David D. Dowd, Jr.
  Date                                         David D. Dowd, Jr.
                                               U.S. District Judge
